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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION


    FEDERAL TRADE COMMISSION

                     Plaintiff,

                v.                                        Case No.: 4:23-CV-03560-KH

    U.S. ANESTHESIA PARTNERS, INC. et al.

                     Defendants.



                          Rule 26(f) Joint Discovery/Case Management Plan

           Plaintiff Federal Trade Commission and Defendants U.S. Anesthesia Partners, Inc. and

the Welsh Carson entities,1 by and through their undersigned counsel, submit the following Joint

Discovery/Case Management Plan under Rule 26(f) of the Federal Rules of Civil Procedure.

      1.      State where and when the meeting of the parties required by Rule 26(f) was held
              and identify the counsel who attended for each party.

           The Rule 26(f) conference occurred on March 14, 2024, at 12:00 pm Eastern Time via

Microsoft Teams. The following individuals were in attendance for each party.

           FTC: Kara Monahan, Tim Kamal-Grayson, Neal Perlman, Michael Arin

           USAP: Ken Fetterman, Kyle Wood, Kevin Miller, David Beck

           The Welsh Carson Entities: Katy Caldwell, Elena Davis, Matt Zorn, Paul Yetter




1
 The “Welsh Carson entities” refers to Welsh, Carson, Anderson & Stowe XI, L.P., WCAS Associates
XI, LLC, Welsh Carson, Anderson & Stowe XII, L.P., WCAS Associates XII, LLC, WCAS Management
Corporation, WCAS Management, L.P., and WCAS Management, LLC.
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   2.      List the cases related to this one that are pending in any state or federal court
           with the case number and court.

        Electrical Medical Trust et al. v. U.S. Anesthesia Partners, Inc. et al., 4:23-cv-4398 (S.D.

Tex.) (Bennett, J.).

   3.      Briefly describe what this case is about.

        The Federal Trade Commission, a federal agency that enforces antitrust and competition

laws, alleges that USAP and the Welsh Carson entities violated the FTC and Clayton Acts

through a series of agreements with and acquisitions of anesthesia providers. USAP and the

Welsh Carson entities deny any such violations. The suit seeks injunctive relief.

   4.      Specify the allegation of federal jurisdiction.

        This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331,

1337(a), and 1345.

   5.      Name the parties who disagree and the reasons.

        All parties agree that this Court has subject matter jurisdiction to resolve this dispute.

   6.      List anticipated additional parties that should be included, when they can be
           added, and by whom they are wanted.

        No party has identified any anticipated additional parties at this time.

   7.      List anticipated interventions.

        No party has identified any possible interventions at this time.

   8.      Describe class-action issues.

        None.

   9.      State whether each party represents that it has made the initial disclosures
           required by Rule 26(a). If not, describe the arrangements that have been made
           to complete the disclosures.

        The parties agree to exchange initial disclosures two (2) weeks after discovery opens.



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    10.      Describe the proposed agreed discovery plan, including:

             a. Responses to all the matters raised in Rule 26(f).

          The subjects and timing of discovery. The parties expect that discovery will encompass

information relevant to the claims and defenses in this case. The parties disagree about whether

discovery should be stayed until the Court resolves the motions to dismiss. The parties also

disagree about whether discovery should be bifurcated into liability and remedy phases. Their

respective positions on these and other disputed issues are set out in Item 11, and their proposed

schedules are included in Appendix A.

          The parties propose that discovery may be extended by agreement of the parties without

court intervention. The summary judgment motion deadline, however, may not be extended

without leave of court. Any party may seek modification of the Scheduling and Case

Management Order for good cause.

          Electronically stored information (ESI). The parties agree that discovery in this case

will include ESI. The parties do not anticipate any special issues in this regard and agree to work

cooperatively to reach mutually acceptable protocols and standards for the production of ESI.

          Privilege. The parties agree that the following documents and communications subject to

attorney-client privilege, work product protection, or other protection shall not be the subject of

discovery, need not be preserved, and need not be placed on a privilege log:

          (1) documents or communications between Arnold & Porter, McDermott Will & Emery,

Ropes & Gray, Kellogg, Hansen, Todd, Figel & Frederick, and/or local outside counsel in the matters




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as identified in Footnote 2,2 or related to this litigation, the investigation, or the private class action

(4:23-CV-04398) on the one hand, and USAP on the other;

        (2) documents or communications solely internal to Arnold & Porter, McDermott Will &

Emery, Ropes & Gray, Kellogg, Hansen, Todd, Figel & Frederick, or solely between any of these

law firms and/or local outside counsel in the relevant matters as identified in Footnote 2, generated as

a result of the law firms’ representation of USAP in the FTC’s investigation and this litigation, the

Colorado Attorney General’s investigation, and certain disputes with UnitedHealthcare, listed in

Footnote 3;3

        (3) documents or communications related to this litigation, the investigation, or the private

class action (4:23-CV-04398) sent between Hogan Lovells, Jones Day, Ropes & Gray, WilmerHale,

and/or Yetter Coleman LLP, on the one hand, and the Welsh Carson entities on the other;

        (4) documents or communications solely internal to Hogan Lovells, Jones Day, Ropes &

Gray, WilmerHale, and/or Yetter Coleman LLP or solely between any of these law firms, generated

as a result of the law firms’ representation of the Welsh Carson entities in the FTC’s investigation

and this litigation, the private class action (4:23-CV-04398), or the Colorado Attorney General’s

investigation;




2
  (1) Recht Kornfeld PC (Colorado Attorney General CID); (2) Armstrong Teasdale LLP (U.S. Anesthesia
Partners of Colorado, Inc. v. UnitedHealthcare Ins. Co. et al., Denver County District Court, Case No.
2021 CV 31061); (3) Wick Phillips (U.S. Anesthesia Partners of Texas, P.A. v. UnitedHealthcare Ins. Co.
et al., Dallas County District Court, 14th Judicial District, Cause No. DC-21-04104; U.S. Anesthesia
Partners of Texas, P.A. v. UnitedHealthcare Ins. Co. et al., AAA Arbitration Case 01-20-0003-799).
3
  (1) U.S. Anesthesia Partners of Texas, P.A. v. UnitedHealthcare Insurance Company, et al., AAA Claim
No. 01-20-0003-7990; (2) U.S. Anesthesia Partners of Colorado, Inc. v. UnitedHealthcare Insurance
Company, et al., AAA Claim No. 01-20-0014-3600; (3) U.S. Anesthesia Partners of Texas, P.A. v.
UnitedHealthcare Insurance Company, et al., 14th Jud. Dist., Dallas County, TX, Case No. DC-21-
04104; (4) U.S. Anesthesia Partners of Colorado, Inc. v. UnitedHealthcare Insurance Company, et al.,
District Court for the City and County of Denver, CO, Case No. 2021CV31061; (5) U.S. Anesthesia
Partners, Inc. v. UnitedHealth Group, Inc., et al., Case No. 1:21-cv-02380-STV (D. Colo.).
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        (5) documents or communications sent solely among and between USAP’s outside counsel

identified in subparts (1)-(2) and the Welsh Carson entities’ outside counsel identified in subparts

(3)-(4), generated as a result of the FTC’s investigation or this litigation; and

        (6) documents or communications between or among FTC employees and FTC agents in the

FTC’s investigation and this litigation regarding this matter.

        The parties agree to work cooperatively to reach a mutually acceptable protocol under

Federal Rule of Evidence 502(d). The parties agree all privilege logs shall be provided in Excel

format or text searchable .pdf file.

        Limitations on discovery. The parties agree to the following limitations on discovery:

            •   Interrogatories. The parties agree to the limits in Rule 33(a)(1).

            •   Requests for Production. The parties agree that there shall be no limitations on

                the number of requests for production pursuant to Rule 34.

            •   Requests for Admission. The parties agree not to impose any additional

                limitations on requests for admission beyond those set forth in the applicable

                Federal Rules of Civil Procedure.

            •   Depositions. The parties disagree about the number of hours needed for

                depositions of fact witnesses. Their respective positions are set out in Item 11.

        Other orders. The parties agree to work together cooperatively to reach an agreement on

an appropriate order to protect the confidentiality of any proprietary or competitively sensitive

information that may be discoverable in this case, as well as proposed orders governing the

taking of depositions (including remotely) and expert discovery.

            b. When and to whom the plaintiff anticipates it may send interrogatories.

        The FTC anticipates sending interrogatories to USAP and the Welsh Carson entities

within the period specified for fact discovery.

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           c. When and to whom the defendants anticipate they may send interrogatories.

       USAP and the Welsh Carson entities anticipate sending interrogatories to the FTC within

the period specified for fact discovery.

           d. Of whom and by when the plaintiff anticipates taking oral depositions.

       The FTC anticipates taking oral depositions of individuals named in the Complaint, in its

Rule 26 initial disclosures, and others it will identify during the course of discovery. The FTC

anticipates taking such depositions within the period specified for fact discovery in the

scheduling order.

           e. Of whom and by when the defendants anticipate taking oral depositions.

       Defendants anticipate taking oral depositions of individuals with information relevant to

this action following the resolution of the motions to dismiss and within the period specified for

fact discovery in the scheduling order.

           f. When the plaintiff (or the party with the burden of proof on an issue) will be
              able to designate experts and provide the reports required by Rule
              26(a)(2)(B), and when the opposing party will be able to designate responsive
              experts and provide their reports.

       The parties’ proposed schedules in Appendix A include deadlines for the service of

expert reports. The parties agree that each expert will be deposed only once.

           g. List expert depositions the plaintiff (or the party with the burden of proof on
              an issue) anticipates taking and their anticipated completion date. See Rule
              26(a)(2)(B) (expert report).

       The FTC anticipates taking the depositions of any responsive expert(s) designated by

defendants at an appropriate time after such expert provides the report(s) required by Rule

26(a)(2)(B) and permitted under the Court’s scheduling order(s).




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         Defendants anticipate taking the depositions of any responsive expert(s) designated by

the FTC at an appropriate time after such expert provides the report(s) required by Rule

26(a)(2)(B) and permitted under the Court’s scheduling order(s).

            h. List expert depositions the opposing party anticipates taking and their
               anticipated completion date. See Rule 26(a)(2)(B) (expert report).

         The FTC anticipates taking the depositions of any initial expert(s) designated by

defendants at an appropriate time after such expert provides the report(s) required by Rule

26(a)(2)(B) and permitted under the Court’s scheduling order(s). Defendants anticipate taking

the depositions of any initial expert(s) designated by the FTC at an appropriate time after such

expert provides the report(s) required by Rule 26(a)(2)(B) and permitted under the Court’s

scheduling order(s).

   11.      If the parties are not agreed on a part of the discovery plan, describe the
            separate views and proposals of each party.

         Issue No. 1: Stay of Discovery.

                FTC’s Position.

         The court should reject Defendants’ attempt to stay all discovery. “[S]uch stays are very

rare, and almost never wise.” 360 Mortgage Grp. LLC v. LoanCare LLC, No. 1:18-cv-332 RP,

2018 WL 6272034, at *1 (W.D. Tex. Nov. 30, 2018); see also Array Holdings, Inc. v. Safoco,

Inc., No. H-12-0366, 2012 WL 12896361, at *1 (S.D. Tex. Oct. 12, 2012) (discovery stays are

“the exception, not the rule”). Defendants bear the burden of showing good cause as to why all

discovery should be stayed. Fed. R. Civ. P. 26(c)(1). To determine whether a defendant has met

this burden, courts analyze 1) the strength of the defendants’ motions to dismiss, 2) the

irreparable harm to defendants absent a stay, 3) and the injury to other parties and the public

interest that would result from a stay. See Nken v. Holder, 556 U.S. 418, 434-35 (2009); Order



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Deny. Mot. to Stay at 2, Fontenot v. City of Houston, No. 4:12-cv-3503(S.D. Tex. Jan. 9, 2014),

ECF No. 117 (Hoyt, J.) (assessing Nken factors and denying motion to stay). Here, each factor

weighs against Defendants.

       First, Defendants cannot make the required “strong showing” that they are likely to

prevail on their motions to dismiss. See Fontenot at 2. As the FTC explained in its opposition

briefs, the Defendants’ motions advance novel readings of the FTC’s statutory authority that

misapprehend Supreme Court and Fifth Circuit precedent; ignore or flatly contradict the detailed

facts alleged in the 105-page complaint; and recycle a constitutional challenge the Fifth Circuit

foreclosed less than 4 months ago. This is a far cry from the “slam-dunk” required to stay

discovery. Health Choice Grp., LLC v. Bayer Corp., No. 5:17-cv-126-RWS-CMC, 2018 WL

5728515, at *3 (E.D. Tex. Apr. 25, 2018) (internal quotations omitted). Indeed, the mere

presence of “substantial arguments on both sides” makes a stay unwarranted. See Williams v.

New Day Farms, LLC, No. 2:10-cv-0394, 2010 WL 3522397, at *3 (S.D. Ohio Sept. 7, 2010).

       Second, courts have rejected as “absurd” Defendants’ argument that being exposed to the

expense of discovery is harm enough to justify a stay. FTC v. IAB Mktg. Assocs., LP, 972 F.

Supp. 2d 1307, 1312 (S.D. Fla. 2013) (“[T]he Court is not aware of any law supporting the

proposition that litigation expenses are an irreparable injury . . . .”); see also Valenzuela v. Crest-

Mex Corp., No. 3:16-cv-1129-D, 2017 WL 2778104, at *5 (N.D. Tex. June 26, 2017) (the “usual

inconveniences and costs . . . associated with discovery practice” do not justify a stay) (internal

quotations omitted). Contrary to Defendants’ suggestion, no different rule automatically applies

in antitrust cases. See, e.g., Crownalytics, LLC v. SPINS, LLC, No. 1:22-cv-1275-NYW-SKC,

2022 WL 17416656, at *2 (D. Colo. Dec. 5, 2022) (denying request for stay based on rote

recitation of burden in antitrust cases and lack of showing burden “in this antitrust case”). And



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following the default is especially sensible here because, should either defendant prevail on their

leading arguments about the FTC’s statutory authority, the FTC could elect to proceed with this

litigation in its administrative court and seek largely the same discovery. Ultimately, whatever

the burdens of discovery may be, “there are remedies that Defendants can seek short of a full

stay of discovery.” Edge196 LLC v. Jointer, Inc., No. H-20-3417, 2021 WL 4027696, at *1 (S.D.

Tex. Jan. 22, 2021).

        Third, any burden to Defendants must cede to the public’s and the FTC’s “significant

interest in resolving the issues raised by the [plaintiff’s] claims with due expedition.” FTC v.

Vyera Pharms., LLC, No. 20-cv-00706 (DLC), 2021 WL 76336, at *1 (S.D.N.Y. Jan. 8, 2021)

(rejecting request for stay in light of strong public interests).

                Defendants’ Position.

        USAP’s and the Welsh Carson entities’ respective Motions to Dismiss demonstrate how

the FTC lacks both the statutory and constitutional authority to obtain the relief it seeks in this

case. See Dkt. No. 99 at 11-22; Dkt. No. 100 at 10-15, 30-35. These motions raise serious and

case-dispositive arguments; it would be prudent and efficient to stay discovery until the Court

determines whether this case should even proceed.

        This Court retains full authority over the discovery process, including the timing and

sequence of discovery. See Fed. R. Civ. P. 26(d)(1); Williamson v. U.S. Dep’t of Ag., 815 F.2d

368, 382 (5th Cir. 1987). Pursuant to that authority, this Court “may, for good cause,” stay all

discovery where it will present an “undue burden or expense.” Fed. R. Civ. P. 26(c).4


4
  The FTC urges the Court to commit legal error by applying the Nken factors to Defendants’ request for a
stay of discovery. The Fifth Circuit has never applied those factors—which apply to motions to stay all
proceedings pending an appeal—to motions to stay discovery. Instead, all the Court must find is that
good cause exists to stay discovery. See, e.g., Petrus v. Bowen, 833 F.2d 581, 583 (5th Cir. 1987); Smith
v. Potter, 400 F. App’x 806, 813 (5th Cir. 2010); see also Fed. R. Civ. P. 26(c). This Court’s order in


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        As the Supreme Court has recognized, the cost of discovery in antitrust cases is often

“unusually high” for defendants. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 558-59 (2007). Those

costs present an “undue burden” justifying a stay of discovery when the defendant files a

potentially case-dispositive motion to dismiss, and “[n]othing that [the plaintiff] could . . . learn[]

through discovery could . . . affect[] the [motion’s] resolution.” Petrus 833 F.2d at 583 (affirming

trial court’s stay of discovery pending ruling on motion to dismiss); see also Landry v. Air Line

Pilots Ass’n Int’l AFL-CIO, 901 F.2d 404, 436 (5th Cir. 1990) (affirming stay of discovery where

“[t]he trial court sought to resolve an issue that might preclude the need for the discovery

altogether thus saving time and expense”); Rio Grande Royalty Co. v. Energy Transfer Partners,

L.P., 2008 WL 8465061, at *1 (S.D. Tex. Aug. 11, 2008) (issuing stay and observing that “staying

discovery may be particularly appropriate in antitrust cases, where discovery tends to be broad,

time-consuming and expensive” (citation omitted)).

        Here, there is no discovery needed to resolve Defendants’ motions; they are fully briefed,

and the Court has scheduled oral argument for April 8, 2024. See Smith, 400 F. App’x at 813

(affirming stay of discovery pending a ruling on a motion to dismiss because the issues raised

were “largely legal rather than factual in nature”); Landry, 901 F.2d at 435-36 (similar). In

addition, the FTC used its investigative authority to seek (and receive) a substantial volume of

materials prior to filing its complaint in this action; there can be no claim that any additional

discovery that would proceed at this stage would affect the resolution of the Motions to Dismiss.

And those motions raise strong, case-dispositive arguments that the FTC lacks both the

constitutional and statutory authority to bring this action. Contrary to the FTC’s claim, the


Fontenot does not compel a contrary result, as there the moving defendants (wrongly) conceded that Nken
governed their motion to stay. See City of Houston and Jane Doe Defendant 1’s Motion to Stay the
Proceedings at 3-4, Fontenot v. City of Houston, No. 4:12-cv-03503 (S.D. Tex. Oct. 15, 2013), ECF No.
81.
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statutory arguments are not limited to just the FTC’s ability to bring this case in federal court;

they also show that virtually all of the conduct its Complaint targets is past conduct that cannot

support a claim for equitable relief under 15 U.S.C. § 53(b). Moreover, even if the Court were

to rule that the case may proceed, its Order could substantially narrow the issues and the scope

of relevant discovery. In short, allowing costly discovery on every claim in the FTC’s Complaint

before this Court rules on the pending motions would impose an undue burden upon Defendants,

presenting “good cause” for a stay under Rule 26(c). See Petrus, 833 F.2d at 583; Landry, 901

F.2d at 435-36; Rio Grande Royalty Co., 2008 WL 8465061, at *1-2.5

        This Court should therefore stay all discovery pending its ruling on USAP’s and the Welsh

Carson entities’ respective Motions to Dismiss.

        Issue No. 2: Phasing Discovery/Bifurcation.

                FTC’s Position.

        Discovery should begin with respect to all issues in the case—including remedy.

Defendants propose bifurcation, where discovery into remedy would occur only after a finding of

liability, but such “[s]eparation of issues . . . is not the usual course that should be followed.”

McDaniel v. Anheuser–Busch, Inc., 987 F.2d 298, 304 (5th Cir. 1993). Rather, the scope of

discovery encompasses all “claim[s] and defense[s]” by default “[u]nless otherwise limited by

court order.” See Fed. R. Civ. P. 26(b)(1). Here, the court should not bifurcate discovery because




5
  The FTC’s cited cases fail to persuade otherwise. Most, including 360 Mortgage Group, Array Holdings,
Health Choice Group, and Edge196 LLC, fail to perform the required undue burden analysis in the context
of an antitrust dispute. Others analyze irrelevant kinds of motions. See FTC v. IAB Mktg. Assocs., LP, 972
F. Supp. 2d 1307, 1310 (S.D. Fla. 2013) (motion to stay pending interlocutory appeal); AndFTC v. Vyera
Pharms., LLC, No. 20-cv-00706 (DLC), 2021 WL 76336, at *1 (S.D.N.Y. Jan. 8, 2021), is inapposite: the
defendant moved to stay discovery one month before fact discovery was slated to end, and simply sought a
stay until he was released from incarceration.
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it would be inefficient, introduce the significant risk of disputes, and delay justice for Texas

consumers and employers.

       First, “bifurcation would not be an efficient use of the Court’s and the parties’ resources”

because “a significant amount of overlap exists between the facts the FTC will have to show to

prove liability and the facts it will have to show to determine the appropriate remedy.” FTC v.

Adept Mgmt. Inc., No. 1:16-cv-00720-CL, 2018 WL 893803, at *2 (D. Or. Feb. 13, 2018); see

also Brown Bottling Grp., Inc. v. Imperial Trading Co., No. 3:19-cv-00142-HTW-LGI, 2022 WL

4110918, at *7 (S.D. Miss. Sept. 7, 2022) (same). For example, hospitals, insurance companies,

and other nonparties will provide evidence about the mechanism for competition in the hospital-

only anesthesia market that will implicate both USAP’s efforts to stifle competition and any

remedy to restore competition.

       Second, bifurcation may also lead to numerous disputes about whether material belongs

in the liability or remedy phase. See Lubrizol Spec. Prods., Inc. v. Flowchem LLC, No. H-15-

2917, 2016 WL 11745554, at *2 (S.D. Tex. June 21, 2016) (bifurcation of overlapping issues

would only increase discovery disputes). For example, information about USAP’s current

presence at hospitals is relevant to both liability and remedy; policing that line will prove

difficult and may lead to significant motions practice. FTC v. AMG Services, Inc., cited in

Defendants’ statement, demonstrates how bifurcation results in inefficiencies. There, bifurcating

discovery resulted in substantial litigation on how discovery should proceed, in part due to

“unexpected” developments that “changed the context of the bifurcation order.”. 29 F. Supp. 3d

1338, 1379 (D. Nev. 2014) (subsequent history omitted).

       Third, “bifurcation … would seriously prejudice [Plaintiff’s] right to have a prompt

resolution of the claims they filed against Defendant.” Performance Aftermarket Parts Grp., Ltd.



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v. TI Grp. Auto. Sys., Inc., No. H-05-4251, 2006 WL 2850061, at *1 (S.D. Tex. Oct. 3, 2006).

See also Fed. R. Civ. P. 1 (favoring “just, speedy, and inexpensive determination of every

action”). Even if the FTC prevails on liability, the parties would then proceed to a second

discovery phase, substantially delaying a return to competitive healthcare markets for Texans.

        Given the potential for inefficiency and delay, it is no surprise that a review of recent

FTC antitrust enforcement actions reveals the ordinary course is to pursue both liability and

remedy-related discovery at the same time.6 Apart from Meta, which involved a stipulated

bifurcation of discovery, Defendants fail to point to any other antitrust case with bifurcated

discovery where, as here, the plaintiff was seeking only injunctive relief. Indeed, the minority of

cases bifurcating discovery involve discrete issues not present here, such as class-wide liability,

individual-specific damages,7 or courts sitting in both equity and law.8 Because an injunction is

tailored to the defendants’ impact on current competitive conditions and likely future threats to

competition, not retrospective calculation of harm,9 bifurcation of discovery is rarely appropriate

in the FTC’s antitrust enforcement cases. Unsurprisingly, then, we are aware of no instance in

which bifurcation of discovery was ordered over the FTC’s objection.


6
  See, e.g., Amended Joint Rule 26(f) Report at 2, FTC v. Vyera Pharms., LLC, No. 1:20-cv-00706-DLC
(S.D.N.Y. Mar. 17, 2020), ECF No. 64 (single phase discovery plan); Scheduling Order at 2-3, FTC v.
Surescripts, LLC, No. 19-cv-1080 (JDB) (D.D.C. Feb. 28, 2020), ECF No. 54 (same); Case Management
Order at 2, FTC v. Qualcomm, Inc., 5:17-cv-00220-LHK (N.D. Cal. April 19, 2017), ECF No. 75;
Scheduling Order at 2, FTC v. AbbVie Inc., No. 2:14-cv-05151-HB (E.D. Pa. Apr. 29, 2015), ECF No. 78
(same); FTC v. Cephalon, Inc., No. 2:08-cv-02141-MSG (E.D. Pa. May 12, 2008), ECF No. 2 (same).
7
  See EEOC v. Lawler Foods, Inc., 128 F. Supp. 3d 972, 974 (S.D. Tex. 2015).
8
  United States v. Google LLC, No. 1:23-cv-00108 (E.D. Va. June 11, 2023), ECF No. 283 (granting in
part the government’s motion to decide if additional fact discovery will be needed for equitable relief
after trial before jury). Defendants’ reliance on the Department of Justice’s agreement to address whether
additional discovery was necessary to determine whether equitable relief was appropriate after a trial by
jury is misplaced. The FTC seeks only equitable relief, so there is no need for this court to sit both in law
and in equity, and therefore no need for bifurcation.
9
  Equitable relief in an antitrust enforcement case is measured in “reasonable relation to the unlawful
practices found to exist,” i.e. the trier of fact’s findings on liability. See Chicago Bridge & Iron Co. v.
FTC, 534 F.3d 410, 441 (5th Cir. 2008) (quoting Toys “R” Us, Inc. v. FTC, 221 F.3d 928, 940 (7th Cir.
2000) (quotation omitted)).
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        Defendants fail to cite any law to the contrary or explain why the Court should deviate

from the Federal Rules. Instead, the majority of Defendants’ authority concerns bifurcation of

trial. 10 In particular, Defendants selectively quote FTC’s motion to bifurcate trial in FTC v.

Amazon, failing to mention that the Amazon parties “appear to agree that fact discovery should

encompass both liability and remedy issues.” Pls.’ Mot. to Bifurcate at 2, FTC v. Amazon.com,

Inc., No. 2:23-cv-01495-JHC (W.D. Wash. Feb. 29, 2024), ECF No. 167. Bifurcating at trial

presents a separate issue with separate considerations from bifurcation of discovery. Therefore,

the cases Defendants cite provide little support for Defendants’ position here. See Brown

Bottling, 2022 WL 4110918, at *1-7 (analyzing the two separately and allowing bifurcation at

trial but not in discovery).11 To be clear, the FTC does not believe it is necessary or appropriate

to address whether a future trial should be bifurcated at this early stage.

                Defendants’ Position.

        The Court should bifurcate these proceedings into a liability and remedies phase and

permit fact and expert discovery only on liability issues at this time.

        Courts regularly order bifurcation in antitrust cases, often at the urging of the FTC, in

order to expedite and streamline litigation. See, e.g., Joint Civil Rule 16.3 Report to the Court at

2. FTC v. Meta Platforms, Inc., No. 1:20-cv-03590 (D.D.C. Feb. 22, 2022), ECF No. 100 (FTC


10
   See, e.g., Order to Bifurcate Proceedings at 1, United States v. Google LLC, No. 1:20-cv-03010 (D.D.C.
Dec. 6, 2021), ECF No. 264 (“The Parties in the above-captioned actions have jointly requested to
bifurcate the proceedings to hold separate trials on liability and, if necessary, remedy.”); Order, United
States v. Google LLC, No. 1:23-cv-00108 (E.D. Va. June 11, 2023), ECF No. 283 (bifurcating trial with
limited possibility of additional discovery only if court ordered); FTC v. Minutemen Press, LLC, 53 F.
Supp. 2d 248, 251 (E.D.N.Y. 1998) (bifurcating trial to address liability and then the amount of
compensation).
11
   Bifurcating discovery is less common than bifurcating trial, see Brown Bottling, 2022 WL 4110918, at
*1-7, and contrary to Defendants’ claims that it is a common procedure, the Fifth Circuit disfavors even
bifurcation of trial in antitrust actions. See Alabama v. Blue Bird Body Co., 573 F.2d 309, 318-19 (5th Cir.
1978) (“In an antitrust action … this Court has also cautioned that separate trials of liability and damages
‘must be approached with trepidation[.]’” (quoting Response of Carolina, Inc. v. Leasco Response, Inc.,
537 F.2d 1307, 1324 (5th Cir. 1976))).
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taking the position that “[t]he parties should proceed expeditiously to a trial that deals

exclusively with liability issues,” with the parties to later confer on a “separate Case

Management Order governing the remedy phase”); FTC v. AMG Servs., Inc., 29 F. Supp. 3d

1338, 1346 (D. Nev. 2014) (noting the court bifurcated the litigation into “liability” and “relief”

phases)12; FTC v. Minutemen Press, LLC, 53 F. Supp. 2d 248, 251 (E.D.N.Y. 1998) (bifurcating

trial to address liability and then the amount of compensation); see also Order to Bifurcate

Proceedings at 2, United States v. Google LLC, No. 1:20-cv-03010 (D.D.C. Dec. 6, 2021), ECF

No. 264 (finding that bifurcation “will be more convenient for the Court and the Parties, and will

expedite and economize this litigation”); Order at 3-4, United States v. Google LLC, No. 1:23-

cv-00108 (E.D. Va. July 11, 2023), ECF No. 283 (deferring specification of the equitable

remedies and “the schedule for exchanging expert reports addressing” those remedies until after

a liability trial).

         Indeed, in moving to bifurcate the liability and remedies phases in FTC v. Amazon.com,

Inc., the FTC explained that bifurcation “is a common and ‘obvious’ application of [Federal Rule

of Civil Procedure] 42(b)” in antitrust cases “because ‘liability must be resolved before

[remedies] are considered.’” Pls.’ Motion to Bifurcate at 3,, FTC v. Amazon.com, Inc., No. 2:23-

cv-01495 (W.D. Wash. Feb. 29, 2024), ECF No. 167 (citation omitted). Specifically, in

monopolization cases, “[t]he court cannot craft appropriate injunctive relief until it knows ‘the

wrong creating the occasion for the remedy.’” Id. at 5 (citation omitted). But perhaps most

importantly, “bifurcation may obviate the need for a remedies proceeding altogether.” Id.




12
  Contrary to the FTC’s assertions, the court’s bifurcation order did not cause any substantial disputes
over the timing of discovery. Given that several defendants unexpectedly settled, the court’s summary
judgment order merely clarified when discovery on claims relating to other defendants (which had not yet
occurred because of the bifurcation order) would begin. AMG Servs., 29 F. Supp. 3d at 1379-80.
                                                  15
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        Contrary to the FTC’s assertions here, the fact that the same witnesses might have

discoverable information about liabilities and remedies counsels in favor of bifurcation. As the

FTC explained in Amazon, “[w]hen proceedings are not bifurcated in cases with a broad scope,”

such as this case, in which the FTC’s Complaint reaches a decade’s worth of acquisitions,

“witnesses may have to testify about a range of potential remedies covering all possible liability

outcomes.” Id. This is more likely to be a waste of resources, not an efficiency: it can “result in

parties litigating—and the court considering—remedies that may ultimately be foreclosed by the

court’s liability determinations, thereby reducing judicial economy.” Id.

         Nor should there be increased discovery disputes as a result of bifurcation; the FTC will

be fully entitled to all fact discovery relevant to liability in the liabilities phase, even if some

such discovery may also be relevant to the remedies phase. In fact, discovery disputes may well

be reduced by bifurcation because any disputes relating to discovery into remedies will be

avoided entirely in the event that the need for a remedies phase is obviated by an initial trial on

liability issues.

        Moreover, discovery disputes will only increase if the Court orders discovery on both

liability and remedies at this stage because of the FTC’s obdurate refusal to disclose the kinds of

equitable relief it seeks. What the FTC effectively seeks is unprecedented, carte blanche

authority to seek discovery on any remedy that it might conjure up without notifying Defendants

what those remedies might be, depriving both Defendants and this Court of the ability to impose

meaningful discovery limitations. Such authority not only flouts Rule 26, but is extremely

wasteful of Defendants’ and taxpayers’ resources, because those remedies (whatever they might

be) “may ultimately be foreclosed by the court’s liability determinations.” Id.




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        Simply put, just as the FTC advised the court in Amazon, discovery on equitable remedies

will be unnecessary if the FTC does not prevail on the merits. The Court should therefore

bifurcate these proceedings to permit only discovery and a subsequent trial on liability issues

first, with discovery and a trial on equitable remedies, if any, to follow thereafter.

        Issue No. 3: Discovery Timeline.

                FTC’s Position.

        Although the parties broadly agree on the discovery schedule, two areas of disagreement

remain: (1) the length of fact discovery and (2) the inclusion of an interim deadline for

substantial completion of document productions.

        Fact discovery should last for 12 (not 18) months. Congress has expressed a “clear

intent to prioritize speedy and efficient resolution of government antitrust suits.” United States v.

Google LLC, 661 F. Supp. 3d 480, 493 (E.D. Va. 2023). Plaintiff’s proposed schedule would

allow the Court to set this case for trial as early as 2026, which balances a speedy resolution with

sufficient time for discovery, potential dispositive motions, and pretrial proceedings. Defendants’

proposed additional six months of fact discovery, along with their proposed separate discovery

period related to remedy, risks pushing the resolution of this case into 2027 or later. Such a delay

may benefit Defendants, but it comes at the expense of patients and employers in Texas, who

will continue to pay inflated prices for anesthesia services. Given that Defendants will receive

the FTC’s entire investigative file shortly after the start of discovery, it is unlikely that the parties

will need 17.5 months to collect the remaining relevant materials.

        The schedule in the related private action underscores why 12 months is appropriate here.

There, the parties agreed to 18 months of fact discovery despite the numerous additional factual




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issues arising out of the class claims, including proof of causation and antitrust injury. Because

this case does not include these additional issues, it warrants a shorter discovery period.

       The schedule should include a deadline for substantial completion of document

productions. For document requests sent within the first two months of discovery, the FTC’s

proposed schedule requires the parties and nonparties to substantially complete document

production within seven months of discovery opening. This deadline will avoid a pile-up of late

document discovery that might otherwise threaten to derail depositions or the discovery schedule

more generally. This provision is common in government antitrust enforcement and mirrors the

requirement that the FTC produce its investigative file by a date certain.13

               Defendants’ Position.

       Length of Fact Discovery: Defendants believe that 18 months is necessary for the full

development of fact discovery given the complexity of the issues in this case. The FTC’s

Complaint spans more than 100 pages and alleges ten counts against eight parties relating to

conduct dating back to 2012. And the FTC’s view that the production of the investigative file

will vitiate the need for extended discovery by Defendants is simply incorrect. As an initial

matter, , the FTC has conducted a lengthy pre-filing investigation; there is even less reason that it

should limit discovery of Defendants, who did not have the same authority. Moreover, as is

common in these kinds of cases, the parties anticipate significant third-party discovery, and

Defendants will require sufficient time to investigate the relevant information possessed by third

parties (including those who have already responded to the FTC’s inquiries as a part of its pre-


13
  See, e.g., Scheduling Order ¶¶ 6, 12, FTC v. Vyera Pharms., LLC, No. 1:20-cv-00706-DLC (S.D.N.Y.
Mar. 24, 2020), ECF No. 74 (substantial completion of document production ~4 months after deadline to
serve initial RFPs); Scheduling Order § 8, FTC v. Surescripts, LLC, No. 19-cv-1080 (JDB) (D.D.C. Feb.
28, 2020), ECF No. 54 (substantial completion of document production ~9.5 months after start of
discovery); Scheduling Order ¶¶ 6, 7, FTC v. Abbvie Inc., No. 2:14-cv-05151-HB (E.D. Pa. April 29,
2015), ECF No. 78 (production of documents due ~5 months after start of discovery).
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complaint investigation). Finally, Defendants are also named in a follow-on class action lawsuit

alleging substantially similar conduct as this litigation, and the class plaintiffs in that action have

agreed that 18 months is an appropriate length for fact discovery. An aligned 18-month

discovery timeline here will allow Defendants to lessen the inconvenience and burden of

discovery on party and non-party witnesses by aligning the time allotted for discovery between

the two cases.14

       Substantial Completion Deadline: Defendants believe it is unnecessary and inefficient

to set a deadline for substantial completion of document production in the scheduling order. The

parties are committed to ensuring that discovery proceeds efficiently, and Defendants are

sufficiently incentivized by the ordinary operation of the discovery rules to work cooperatively

towards completing document production in a timely manner. In Defendants’ experience,

deadlines for the substantial completion of document production frequently result in unnecessary

discovery disputes and motion practice over what constitutes “substantial completion” as the

parties near the deadline and whether the deadline should be extended in light of the burden

associated with the document requests at issue. There is no need to set an artificial deadline now

and invite these disputes: Defendants, who have already produced hundreds of thousands of

pages of documents to the FTC in connection with its pre-litigation investigation, will produce

documents to the FTC on a rolling basis, and the timing and pacing of those productions will

depend in significant part on the number and breadth of the FTC’s requests for production, which

Defendants have not yet received. The case was filed nearly seven months ago, and there can be



14
  The FTC relies on the inapposite March 2023 decision in Google, which denied a motion to transfer
under 28 U.S.C. § 1404(a) because consolidating the Government’s antitrust action into an already-
pending MDL action would cause unwarranted delay. See 661 F. Supp. 3d at 493 Here, however, the
FTC has not shown, and cannot show, how just six more months of fact discovery prevents an efficient
resolution of its claims.
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no prejudice to the FTC to wait until the resolution of the pending Motions to issue additional

discovery.

       Issue No. 4: Number of Deposition Hours.

               FTC’s Position.

       The FTC proposes 245 hours of depositions per side, excluding expert depositions. This

proposal, the equivalent of 35 7-hour depositions for both plaintiff and defendants, reflects a

realistic estimate of the discovery that is proportional to the needs of the case, as required by

Rule 26. Courts have adopted similar discovery caps in other major antitrust enforcement actions

in the healthcare industry.15 Defendants’ examples are inapposite, involving class action issues,

numerous private plaintiffs, and/or many more nonparties than are at issue in this litigation. See,

e.g., In re Payment Card Interchange Fee & Merchant Discount Antitrust Litig., 827 F.3d 223,

228 (2d Cir. 2016) (describing plaintiffs as a class of all merchants accepting Visa or

Mastercard); In re Bank of New York Mellon Corp. Forex Transactions Litig., No. 12-md-2335

(LAK), 2014 WL 5392465, at *1 (S.D.N.Y. Oct. 9, 2014) (describing numerous distinct causes

of action brought by multiple separate private plaintiffs, government entities, and a class); Joint

Scheduling Order at 4, FTC v. Meta Platforms, Inc., No. 1:20-cv-03590 (JEB) (D.D.C. March 3,

2022), ECF No. 103 (providing 840 deposition hours for fact witnesses in nationwide case).

       Defendants do not and cannot explain why this case requires substantially more

depositions, let alone the 175 additional hours they propose. Unlike the FTC, which will need to

depose Defendants’ employees and executives, Defendants can focus exclusively on nonparties.


15
  See, e.g., Amended Joint Rule 26(f) Report at 12, FTC v. Vyera Pharms., LLC, No. 1:20-cv-00706-
DLC (S.D.N.Y. Mar. 17, 2020), ECF No. 64 (200 hours per side); Discovery Order, FTC v. Actavis, Inc.,
No. 1:09-md-2084-TWT (N.D. Ga. June 11, 2014), ECF No. 972 (40 witnesses per side); Fed. R. Civ. P.
26(f)(2) Report to the Court at 9, FTC v. AbbVie, Inc., No. 2:14-cv-05151-HB (Dec. 23, 2014), ECF No.
50 (30 depositions per side); Scheduling Order at 4, FTC v. Surescripts, LLC, No. 19-cv-1080 (JDB)
(D.D.C. Feb. 28, 2020), ECF No. 54 (30 depositions per side).
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A cap of 245 hours would allow Defendants to identify multiple exemplars in each of the

categories of witness they highlight without burdening the parties and Texas healthcare providers

with potentially repetitive depositions. Further reducing the need for a higher hours cap,

Defendants’ interests are perfectly aligned with respect to the information that they will seek

from nonparties. Although Defendants have suggested that there are unique issues related to each

Defendant, the only issue they have identified—Welsh Carson’s participation in the charged

violations—involves information uniquely in Defendants’ possession and therefore does not

justify additional deposition time.

               Defendants’ Position.

       Defendants propose that each side of the litigation (that is, the FTC on the one hand and

Defendants collectively on the other) be allotted 420 deposition hours for fact witnesses, with

Defendants free to allocate those 420 deposition hours among them as they deem appropriate. To

adequately prepare their defense, Defendants intend to seek discovery from a number of third

parties in the health care industry across the State of Texas, including commercial payors,

hospital facilities, ambulatory surgical centers, and competing anesthesia practices. The Welsh

Carson entities are likely to seek discovery distinct from USAP, given that one key issue is

how—if at all—the Welsh Carson entities were involved in interactions with the third parties.

And, contrary to the FTC’s assertion, the third parties do not have “perfectly aligned” interests

with the Defendants that would necessarily allow for streamlined depositions. The FTC’s

proposal to limit both USAP and the Welsh Carson entities to a combined 275 hours conflates

two distinct sets of parties and risks prejudicing their ability to defend themselves.

       Defendants’ proposal of 420 hours is far lower than the number of hours allowed in other

recent antitrust cases. See Joint Scheduling Order at 4, Meta Platforms, Inc., No. 1:20-cv-03590



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(D.D.C. Mar. 3, 2022), ECF No. 103 (providing 840 deposition hours for fact witnesses for each

party); In re Payment Card Interchange Fee & Merchant Discount Antitrust Litig., 827 F.3d 223,

229 (2d Cir. 2016) (noting that “[d]iscovery included more than 400 depositions” – equivalent to

2,800 hours assuming seven-hour depositions); see also In re Bank of New York Mellon Corp.

Forex Transactions Litig., 2014 WL 5392465, at *2 (S.D.N.Y. Oct. 9, 2014) (in multi-district

litigation containing complex civil claims, noting that “[t]he private plaintiffs and the

government, on the one hand, and the defendants on the other each were permitted collectively to

take up to 150 fact depositions.”) (equivalent to 1,050 hours assuming seven-hour depositions).

         Of course, Defendants have every incentive to be efficient in taking depositions, and

having an upper limit of 420 hours (for USAP and the Welsh Carson entities combined) does not

mean that all those hours will prove to be necessary. But Defendants do not yet know the entire

scope of discovery the FTC has already obtained from third parties during its nearly two-year

investigation, so they need to have sufficient flexibility to obtain the discovery they may require

to prepare their defenses.

   12.      Specify the discovery beyond initial disclosures that has been undertaken to
            date.

         In its investigation, the FTC obtained documents, written narrative responses, and

testimony from defendants and nonparties. This information assisted the FTC in its evaluation of

whether there was reason to believe the law is being violated or is about to be violated, whether

to file a complaint in court, and if so, whom and what to charge.

   13.      State the date the planned discovery can reasonably be completed.

         The parties disagree about the date that discovery can reasonably be completed, in light

of their disagreements about the need to stay discovery and phasing discovery. Their respective

positions are set out in Item 11, and their proposed schedules are included in Appendix A.


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   14.      Describe the possibilities for a prompt settlement or resolution of the case that
            were discussed in your Rule 26(f) meeting.

         The parties continue to explore options for resolution in this matter.

   15.      Describe what each party has done or agreed to do to bring about a prompt
            resolution.

         The parties have engaged in discussions about the possibility of settlement.

   16.      From the attorneys' discussion with the client, state the alternative dispute
            resolution techniques that are reasonably suitable, and state when such a
            technique may be effectively used in this case.

         The parties have considered the possibility of using alternative dispute resolution

procedures but do not believe that the case would benefit from such procedures at this time. The

parties agree to revisit the possibility of settlement and alternative methods of dispute resolution

once the Court rules on the pending motions to dismiss.

   17.      Magistrate judges may now hear jury and non-jury trials. Indicate the parties'
            joint position on a trial before a magistrate judge.

         The parties do not consent to assigning this case to a magistrate judge for trial.

   18.      State whether a jury demand has been made and if it was made on time.

         No jury demand has been made.

   19.      Specify the number of hours it will take to present the evidence in this case.

         At this time, the parties agree that it is premature to estimate the number of hours it will

take to present evidence in this case in light of the dispute over bifurcation and dispositive

motion practice.

   20.      List pending motions that could be ruled on at the initial pretrial and scheduling
            conference.

         None.

   21.      List other motions pending.



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         •   Defendant U.S. Anesthesia Partners, Inc.’s Motion to Dismiss the FTC’s Complaint,
             ECF No. 97
         •   Welsh Carson Entities’ Motion to Dismiss, ECF No. 100

   22.       Indicate other matters peculiar to this case, including discovery, that deserve the
             special attention of the court at the conference.

         None.

   23.       Certify that all parties have filed Disclosure of Interested Parties as directed in
             the Order for Conference and Disclosure of Interested Parties, listing the date of
             filing for original and any amendments.

         The FTC certifies that it is exempt from filing the Disclosure of Interested Parties. FRCP

7.1(a). USAP certifies that it filed the required disclosures on October 10, 2023, ECF No. 63.

Welsh Carson certifies that it filed the required disclosures on October 10, 2023, ECF No. 65.

   24.       List the names, bar numbers, addresses and telephone numbers of all counsel.

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Respectfully submitted,


 /s/ Timothy Kamal-Grayson                        _____________________April 5, 2024
 Counsel for Plaintiff Federal Trade                                            Date
 Commission


 /s/ Kenneth M Fetterman _________________        _________ _________ _ April 5, 2024
 Counsel for Defendant U.S. Anesthesia                                           Date
 Partners, Inc.


 /s/ R. Paul Yetter ___________________            ______ _____________ April 5, 2024
 Counsel for Defendant Welsh Carson                                              Date




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                              Appendix A: Proposed Discovery Plans

Event                              FTC’s Proposed Deadline         Defendants’ Proposed
                                                                   Deadline
Discovery Opens                    Resolution of the motions to    Resolution of the motions to
                                   dismiss, or April 16, 2024,     dismiss
                                   whichever is earlier
Submission of Protective           Approximately April 17,         Approximately April 17,
Order                              2024                            2024
Initial Disclosures                Fourteen (14) days after        Fourteen (14) days after
                                   discovery opens                 discovery opens
Production of FTC                  Fourteen (14) days after        Fourteen (14) days after
Investigative File                 discovery opens                 discovery opens
Substantial Completion of          Seven (7) months after          N/a
Document Production                discovery opens

                                   Only for requests sent within
                                   first two (2) months after
                                   discovery opens
Fact Discovery Closes              Twelve (12) months after        Eighteen (18) months after
                                   discovery opens                 discovery opens
Initial Expert Report(s) by        Nine (9) weeks after close of   Nine (9) weeks after close of
Party Bearing Burden               fact discovery                  fact discovery

Rebuttal Expert Reports            Nine (9) weeks after initial    Nine (9) weeks after initial
                                   reports                         reports
Reply Expert Reports               Six (6) weeks after rebuttal    Six (6) weeks after rebuttal
                                   reports                         reports

Close of Expert Discovery          Forty-five (45) days after      Forty-five (45) days after
                                   reply expert reports            reply expert reports
Summary Judgment Motions           Forty-five (45) days after      Forty-five (45) days after
                                   close of expert discovery       close of expert discovery

Oppositions to Summary             Forty-five (45) days after      Forty-five (45) days after
Judgment Motions                   motions are filed               motions are filed

Replies in Support of              Thirty (30) days after          Thirty (30) days after
Summary Judgment Motions           oppositions are filed           oppositions are filed




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